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IN THE UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF TEXAS

AMARILLO DIVISION

RUBICELLA RAMIREZ, §
FRANCISCO GONZALES, §
Plainti]j%, §
§

v. § CIVIL ACTION NO. 2:18-CV-lO7-D-BR
§
JAMES KILLIAN, a.k.a. “JR Killian” §
and KENT RILEY, §
Defendants. §

DEFENDANT KENT RILEY’S REPLY TO PLAINTIFFS’ RESPONSE TO HIS
MOTION TO DISMISS FOR FAILURE TO STATE A CLAIM UNDER RULE 12(b)(6)

TO THE HONORABLE UNITED STATES MAGISTRATE JUDGE LEE ANN RENO:
COMES NOW Defendant KENT RILEY and files his Reply to Plaintiffs’ Response in
Opposition to Kent Riley’s Motion to Dismiss for F ailure to State a Claim Under Rule 12(b)(6)
and in support thereof would show the Court as follows:
I.

THE PLAINTIFFS FAIL To ADDRESS THE OFFICIAL CAPACITY CLAIMS (CLAIMS AssERTED
AGAINST CoLLINGsWoRTH CoUNTY) oR THE EXCESSIVE FoRcE CLAlM AssERTED AGAINST
DEFENDANT RILEY

In their response, the Plaintiffs have notably failed to address the dismissal requested by
Sheriff Riley of the Plaintiffs’ claims against Collingsworth County, asserted as official capacity
claims against both Sheriff Riley and Defendant Killian. Sheriff Riley moved to dismiss the
duplicative official capacity claim as unnecessary and the remaining official capacity claim against
Collingsworth County due to the failure to state a claim for relief under the pleadings set forth in
Iqbal. See Ashcrofl‘ v. Iqbal, 556 U.S. 662, 678 (2009). This includes the failure to allege any

unconstitutional custom or policy and relying upon allegations consisting of nothing more than an

isolated incident. F or the reasons more fully set forth in Sheriff Riley’s Rule 12(b)(6) Motion to

 

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Dismiss, the official capacity claims asserted against Sheriff Riley and Killian (Collingsworth
County) should be dismissed.

Additionally, the Plaintiffs provide no response to Sheriff Riley’s motion to dismiss the
excessive force claims asserted against Sheriff Riley. Because the Plaintiffs allege no use of
physical force by Sheriff Riley, the Plaintiffs assert no actionable excessive force claim against
Sheriff Riley. Consequently, for the reasons more fully set forth in Sheriff Riley’s Rule 12(b)(6)
Motion to Dismiss, the Plaintiffs claims for the use of excessive force by Sheriff Riley must be

dismissed.
II.
THE PLAINTIFFS ERRONEOUSLY IGNORE LONG STANDING PRECEDENT REGARDING THE
INTRACORPORATE CoNSPIRACY DoCTRINE

Despite the Plaintiffs’ efforts to distract from the well-established law regarding the
intracorporate conspiracy doctrine, they cannot overcome the basic tenet, found under both
Sections 1983 and 1985, that an alleged claim for conspiracy must state facts to support
multiplicity of actors required to form a conspiracy. See Thompson v. City of Galveston, 979 F.
Supp. 504, 511 (S.D. Tex. 1997) (noting “a single entity, . . . and its officers, is incapable of
conspiring with itself for the purpose of Section 1983”). Ample precedent demonstrates the
intracorporate conspiracy doctrine is applicable in a wide context of situations involving
conspiracy claims, including specifically Section 1983. See id.; see also Collz'ns v. Bauer, No.
3:11-cv-00887, 2012 WL 443010, *7 (N.D. Tcx. Jan. 23, 2012) (discussing the application of the
intracorporate conspiracy doctrine in context of conspiracy claim asserted under Section 1983).

The Plaintiffs’ claims for conspiracy must be dismissed because they are barred by the
intracorporate conspiracy doctrine prohibiting a conspiracy when all alleged persons are members

of the same collective entity. See Reynosa v. Wood, 134 F.3d 369 (5th Cir. 1997). The law is

 

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clear. The application of the intracorporate conspiracy doctrine is not limited to conspiracy claims
brought under Section 1985. Consequently, the Plaintiffs’ claims for conspiracy asserted against
Defendant Riley in his individual capacity and both Defendants in their official capacity must be
dismissed due to the inability of the Plaintiffs to succeed on a conspiracy claim based entirely of

actions of a single entity.

III.
FAlLURE To INTERVENE/DENIAL oF MEDICAL CARE

In the Plaintiffs’ Response to Defendant’s Rule 12 motion regarding the alleged denial of
medical care, the Plaintiffs disregard their own pleadings and inappropriater attempt to look to
allegations outside the pleadings for support of their claim. This is inappropriate on a Rule 12
motion, which looks strictly to the pleadings See Iqbal, 556 U.S. at 678. In the Complaint, the
Plaintiffs make no allegations that indicate Sheriff Riley was deliberately indifferent to each
Plaintiffs medical needs. Rather, the Plaintiffs rely on boilerplate allegations concerning the
behavior of Sheriff Riley. There are no allegations that Sheriff Riley had any reason to believe the
actions would occur, and hence the claim falls short of the deliberated indifference standard
required for liability. See Nerren v. Livz`ngston Polz`ce Department, 86 F.3d 469, 473 (5th Cir.
1996).

The Fifth Circuit is clear that a standard higher than that of gross negligence is necessary
to impose liability for an episodic act or omission resulting in the failure to provide medical care,
See Hare v. Cily of Corz`nth, 74 F.3d 633 (5th Cir. 1996). Consequently, the claim of failure to
provide medical care must be dismissed due to the failure to allege a claim with sufficient facts to
demonstrate a plausible claim that Sheriff Riley acted with deliberate indifference to the

constitutional rights of the Plaintiffs. See Iqbal, 556 U.S. at 678.

 

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IV.
CoNcLUsIoN

The Plaintiffs’ failure to respond in any manner to the official capacity complaints asserted
against Collingsworth County and the excessive use of force by Sheriff Riley demonstrates that
these claims must be dismissed. Furthermore, the conspiracy claims and claims for the alleged
denial of medical care should additionally be dismissed due to the Plaintiffs’ failure to comply
with the pleading Standards set forth in Iqbal/Twombly.

WHEREFORE, PREMISES CONSIDERED, Defendant Kent Riley, in his individual and
official capacities, respectfully requests that the Court grant the relief requested in his Rule

12(b)(6) motion,
Respectfully submitted,

/s/ Matt D. Matzner

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CERTIFICATE OF SERVICE

A true and correct copy of the above and foregoing was on this 10th day of August, 2018,
served as follows:

VIA ECF

Suzy Vanegas

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